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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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Case:19-05336-MCF13 Doc#:47 Filed:10/18/22 Entered:10/18/22 15:14:22   Desc: Main
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